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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                            CRMIINAL NO. CCB-16-0267

          v.

 DANTE BAILEY,

          Defendant.



                                            ORDER

               Upon review of the Motion of the United States of America, the Court hereby

adopts the Government’s proffer of the reasons for partially unsealing as presented therein, and it

is hereby ORDERED that the Government’s Sentencing Memorandum and exhibits thereto shall

be PARTIALLY UNSEALED, and the proposed redacted versions shall be filed on the public

docket.

               It is further ORDERED that the Clerk of the Court provide a copy of this Order to

the United States Attorney’s Office.



              28th 2020.
Dated: April ______,
                                                              /S/
                                                Honorable Catherine C. Blake
                                                United States District Judge
